          Case 2:17-cr-00305-GEKP Document 18 Filed 01/10/18 Page 1 of 2




                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       CRIMINAL NO. 17-00305
                                              :
JASON DUNLAP                                  :

                          UNOPPOSED MOTION
          OF DEFENDANT JASON DUNLAP FOR CONTINUANCE OF TRIAL

               Defendant Jason Dunlap, by and through his attorneys, Lindy & Tauber, hereby

moves for continuance of trial and requests that the time period during which this matter is

continued be excluded from the speedy trial calculation, and in support thereof states as follows:

               1. Defendant Jason Dunlap hereby moves for a continuance of the trial in the

matter.

               2. This matter is listed for trial on January 16, 2018.

               3. Defendant Jason Dunlap is hereby requesting a continuance of sixty (60) days.

               4. The parties are negotiating in an attempt to resolve this case through a non-trial

disposition and need further time to complete this process.

               5. “[A]ny period of delay resulting from a continuance granted by any judge...at

the request of the defendant or his counsel...if the judge granted such continuance on the basis of

his findings that the ends of justice served by taking such action outweigh the best interest of the

public and the defendant in a speedy trial,” is excludable time under the Speedy Trial Act. 18

U.S.C. §3161(h)(8)(A).

               6. The ends of justice will be best served by the granting of the requested

continuance because of the reasons stated in this Motion.

               7. Accordingly, “the failure to grant...a continuance...would be likely to...result in

a miscarriage of justice.” 18 U.S.C. §3161(h)(8)(B)(i).
         Case 2:17-cr-00305-GEKP Document 18 Filed 01/10/18 Page 2 of 2




               8. Undersigned counsel has spoken to the assigned prosecutor in this matter,

Assistant United States Attorney Randy Hsia, who has represented that the government does not

oppose the relief requested in this Motion.

               WHEREFORE, for the foregoing reasons, defendant Jason Dunlap respectfully

requests that the trial of this matter be continued for sixty (60) days.

                                               Respectfully submitted,

                                               LINDY & TAUBER


                                               By: __/s/ Alan J. Tauber_________
                                                   Alan J. Tauber, Esquire

                                                      1221 Locust Street
                                                      Philadelphia, Pennsylvania 19107
                                                      atauber@lindyandtauber.com
                                                      215.575.0770

                                                      Attorney for Defendant,
                                                        Jason Dunlap




                                                  2
